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 6   Attorney for Defendant
     JAIME MAYORGA
 7

 8                                   UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA
10                                                   )
     UNITED STATES OF AMERICA,                           Case No.: 11-cr-00296 JAM
                                                     )
11                                                   )
                            Plaintiff,                   MOTION FOR PERMISSION FOR
                                                     )   DEFENDANT TO TRAVEL TO MEXICO
12                                                   )
     vs.                                             )
13                                                   )
     JAIME MAYORGA,                                  )
14                                                   )
                                                     )
15                          Defendant                )
                                                     )
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           COMES NOW THE DEFENDANT, JAIME MAYORGA through his attorney, Ron
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19
      filed this motion requesting that the court grant permission for the defendant to travel to Mexico

20    any time between the dates of April 1, 2020 and May 18, 2020 to accompany his wife and small
21    children who will be moving to Mexico and residing with his parents while he is incarcerated.
22
      Mr. Mayorga has successfully been removed from Pretrial Services in August 2018 and has
23
      been successful while off pretrial services and has attended all his court hearings including his
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25    jury trial and the sentencing hearing on February 4, 2020. Mr. Mayorga would like to assist his

26    family with adjusting to life in Mexico and while he is incarcerated. The clerk of this court is in
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                             MOTION FOR PERMISSION FOR DEFENDANT TO TRAVEL TO MEXICO

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 1   possession of his passport and the defendant request that the passport be released to him or
 2
     Desirene Lozano, Certified Paralegal for attorney Ron Peters
 3
          The government in this case is represented by Assistant United States Attorney Brian
 4

 5
     Fogerty who does not oppose this motion.

 6   DATE: March 27, 2020                               /s/Ron Peters
                                                        RON PETERS
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                                                        Attorney for Defendant
 8                                                      Jaime Mayorga

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                           MOTION FOR PERMISSION FOR DEFENDANT TO TRAVEL TO MEXICO

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 1                                               ORDER
 2
     Pursuant to the parties unopposed motion is it hereby ordered that the defendant Jaime Mayorga
 3
     be permitted to travel to the country of Mexico between the dates of April 1, 2020 to May 18,
 4

 5
     2020. The United States District Court Clerk is hereby ordered to return Mr. Mayorga’s passport

 6   to him or Desirene Lozano, Certified Paralegal for attorney Ron Peters.
 7
     IT IS SO ORDERED
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 9   Date: 3/27/2020                                     /s/ John A. Mendez__________________
                                                         HONORABLE JOHN A. MENDEZ
10                                                       UNITED STATES DISTRICT JUDGE
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                            MOTION FOR PERMISSION FOR DEFENDANT TO TRAVEL TO MEXICO

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